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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                         PENSCAOLA DIVISION

DAVID BEAR,

      Plaintiff,

v.                                            CASE NO. 3:19cv4424-MCR-HTC

ESCAMBIA COUNTY BOARD OF
COUNTY COMMISSIONERS, and
DOUGLAS UNDERHILL,

     Defendants.
_________________________________/

                                      ORDER
      This cause is before the Court on the Magistrate Judge’s Report and

Recommendation dated March 23, 2020, ECF No. 50, as amended by the Amended

Report and Recommendation dated June 2, 2020, ECF No. 62. The parties have

been furnished a copy of the Report and Recommendation and have been afforded

an opportunity to file objections pursuant to Title 28, United States Code, Section

636(b)(1). See ECF Nos. 57, 59, 63, 64. Having considered the Reports and

Recommendations and made a de novo determination of all timely filed objections,

the undersigned has determined that the objections should be sustained.

      To avoid dismissal under Rule 12(b)(6), a complaint must contain sufficient

factual matter to “state a claim to relief that is plausible on its face.” Ashcroft v.

Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544,
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570 (2007)).      When reviewing a complaint under Rule 12(b)(6), well-pled

allegations of fact are taken as true, with reasonable inferences drawn in favor of the

plaintiff, but courts are not bound to accept legal conclusions couched as factual

allegations. See id. at 678-80.

      The undersigned concludes that the First Amended Complaint, ECF No. 18,

viewed as a whole and in the light most favorable to the Plaintiff, adequately states

a plausible § 1983 claim against Underhill in his individual capacity and against the

Board of Commissioners and Underhill in his official capacity. Specifically, it is

alleged in the First Amended Complaint that Underhill frequently utilized, and still

utilizes his Facebook pages as a tool of governance by, including but not limited to,

using his Facebook pages to inform the public of County activities, agenda items,

and County projects; discussing or conducting matters related to Escambia County

business; or otherwise engaging in matters of public interest; and that he blocked

Bear from full access to the sites based on the content of his speech. See generally

West v. Atkins, 487 U.S. 42, 49-50 (1988) (noting to state a § 1983 claim, the plaintiff

must allege the violation of a constitutional right by a state actor, that is, the exercise

of power “possessed by virtue of state law and made possible only because the

wrongdoer is clothed with the authority of state law,” or the abuse of his position).

It is further alleged that the Board engaged in an unlawful policy or custom under
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Monell v. Dep't of Soc. Servs. of City of New York, 436 U.S. 658, 694 (1978).

Allegedly, the Board failed to enforce its social media policy to guarantee Bear and

other citizens complete and equal access to Facebook public forums, and the Board

also knew Underhill was blocking citizen speech from his “Commissioner”

Facebook page based on viewpoint but condoned the conduct and took no corrective

action.

      The well-pled facts state plausible legal claims, which, while novel, are not

without support. See generally Attwood v. Clemons, No. 18-12172, 2020 WL

3096325, at *2 (11th Cir. June 11, 2020) (finding that the social media accounts

operated by a state representative may be a type of public forum under the First

Amendment, and if so, the representative may not be allowed to exclude others based

on their views); Knight First Amendment Institute at Columbia Univ. v. Trump, 928

F.3d 226 (2d Cir. 2019) (concluding the President violated the First Amendment by

blocking individuals from his Twitter account based on viewpoint discrimination);

Davison v. Randall, 912 F.3d 666 (4th Cir. 2019) (finding the chair of a county board

of supervisors acted in her official capacity as a municipal official when she created

and administered the chair’s Facebook page and thus “acted under color of state law”

when banning an individual from access to the page). Because the claims are

plausible, they must be resolved based on a fully developed record.
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      Accordingly:

      1.    The       objections   are   SUSTAINED,    and    the   Reports   and

Recommendations, ECF Nos. 50, & 62, are rejected.

      2.    Defendants Escambia County Board of County Commissioners and

Douglas Underhill (In his Official Capacity) Motion to Dismiss, ECF No. 35, is

DENIED.

      3.    Defendant Douglas Underhill’s (Individually) Motion to Dismiss, ECF

No. 29, is DENIED.

      4.    Defendants’ Answers to the First Amended Complaint are due within

fourteen (14) days.

      5.    The previously imposed Stay is Lifted. The parties are directed to

confer and file an amended Rule 26 Joint Report within 30 days, addressing

outstanding discovery needs going forward, to aid the Court’s preparation of a new

scheduling order.

      DONE AND ORDERED this 24th day August 2020.




                                   M. Casey Rodgers
                                   M. CASEY RODGERS
                                   UNITED STATES DISTRICT JUDGE


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